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                   EXHIBIT 1
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                       BEFORE THE UNITED STATES JUDICIAL PANEL
                             ON MUTIDISTRICT LITIGATION

      IN RE: ORAL PHENYLEPHRINE                 MDL DOCKET NO: 3089
      MARKETING AND SALES PRACTICES
      LITIGATION




             CORRECTED SCHEDULE OF POTENTIAL TAG-ALONG ACTION

No.       Plaintiffs          Defendants          District     Civil Action       Judge
                                                 (Division)        No.
 1.     Michelle         Bayer Healthcare LLC   Eastern        2:23-cv-       Judge Kai N.
        Kasparie and     GlaxoSmithKline LLC    District of    03783          Scott
        Kimberly         Johnson & Johnson      Pennsylvania
        James            Consumer Inc.
                         Kenvue Inc.
                         McNeil Consumer
                         Healthcare
                         Proctor & Gamble
                         Company
                         Target Corporation
                         Walgreen Company
                         Walmart Inc.

Dated: October 4, 2023                          Respectfully submitted,
                                                /s/ Stephen R. Basser
                                                Stephen R. Basser
                                                BARRACK RODOS & BACINE
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                                                San Diego, CA 92101
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                                                Facsimile: (619) 230–1874
                                                sbasser@barrack.com

                                                Counsel for Plaintiffs Michelle
                                                Kasparie and Kimberly James
